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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                                       )
UNITED STATES OF AMERICA               )
                                       )
               v.                      )CRIM. ACTION NO. 08-10386-PBS
                                       )
CHITRON ELECTRONICS COMPANY            )
LIMITED a/k/a CHI-CHUANG               )
ELECTRONICS COMPANY LIMITED,           )
             Defendants.               )
                                       )

                            MEMORANDUM AND ORDER

                              November 12, 2009

Saris, U.S.D.J.

     Defendant Shenzhen Chitron Electronics Company Limited

(“Chitron-China”)1 is charged with the allegedly illegal export of

defense articles and technology controlled by the Department of

Commerce from the United States to the People’s Republic of

China.2    Pursuant to Fed. R. Crim. P. 12, Chitron-China moves to

dismiss all charges against it on the basis of insufficiency of

service of process and lack of personal jurisdiction.             It also

asserts that the service of process violates Article 8 of the



     1
       Chitron-China is referred to as Chitron Electronics
Company Limited a/k/a Chi-Chuang Electronics Company Limited in
the Second Superseding Indictment.
     2
       Chitron-China is charged with the unlawful export of
defense articles in violation of 22 U.S.C. §§ 2778(b)(2), 2778(c)
(Counts 2-7), conspiracy in violation of 18 U.S.C. § 371 (Count
1), unlawful export of commerce controlled goods in violation of
50 U.S.C. § 1705 and 18 U.S.C. § 2 (Counts 8-31), and money
laundering in violation of 18 U.S.C. § 1956(a)(2)(A) (Counts 35-
37).
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Agreement on Mutual Legal Assistance in Criminal Matters signed

by both the United States and China.       After hearing and a review

of the supplementary memoranda, the Defendant’s Motion to Dismiss

(Docket No. 56) is DENIED.

                        I.   FACTUAL BACKGROUND

      Both Chitron-China and the Government have submitted

affidavits and exhibits on the issue of personal jurisdiction and

service of the summons.      The Court will rely on the indictment

along with these additional submissions, although many of the

facts are disputed.    See Fed. R. Crim. P. 47(b) (“A motion may be

supported by an affidavit.”).

     1.    Chitron-China’s Entry into the United States Market

     Chitron-China is an electronics distributor with

headquarters in Shenzhen, China, where it employs about 200

workers.   (See Second Superseding Indictment (“SSI”) ¶ 1.)

Ranked among the top ten Chinese electronics distributors, it has

three branch offices in mainland China, one branch office in Hong

Kong, and one in the United States. (Id. ¶ 2.)        The United States

office is located in Waltham, Massachusetts.        (Id. ¶ 7.)

     Chitron-China was founded by Defendant Zhen Zhou Wu in 1996.

Later in 1996, Defendant Yufeng Wei (his former wife) entered

into an agreement with Chitron-China to open its “purchasing

office” in the United States.     According to this agreement, Wei

agreed to procure electronics components for Chitron-China and


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export them to its “shipping agent” located in Hong Kong.           (Id. ¶

3.)   This office was initially registered as a sole

proprietorship under the name “Perfect Science and Technology

Company Limited.”    In 1998, Wu incorporated the United States

operation as a Massachusetts corporation, under the name “Chitron

Electronics, Inc.” (“Chitron-US”).        (Id. ¶ 7.)   Chitron-China

holds a majority interest in Chitron-US.        Wu is the majority

shareholder of Chitron-China and owns approximately 35% of the

shares of Chitron-US.     Wu has served as general manager and

president of both companies.

      Since 1998, Chitron-US has purchased millions of dollars

worth of electronics components and commodities from United

States manufacturers and distributors and exported them to

Chitron-China.    (Id. ¶ 8.)

      2.   Chitron-China’s Acquisition of Defense Articles

      Beginning in 1998, Chitron-US began ordering and shipping

products, described in internal documents as “military” parts,

from the United States to Chitron-China.        (SSI ¶ 11.)     By 2007,

Chinese military-related institutions in the fields of

electronics and aerospace comprised 25% of Chitron-China’s

customer base.    (Id.)   In fact, Chitron’s website (a single site

shared by both Chitron-China and Chitron-US) promoted Chitron’s

“specialty” as “its ability to procure military and industrial as

well as hard to find and obsolete parts.”         (Id. ¶ 12.)



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     The Arms Export Control Act authorizes the President to

regulate the import and export of defense articles.            22 U.S.C. §

2778 et seq.      The promulgated regulations require any person

intending to export certain enumerated defense articles from the

United States to obtain a license from the Department of State.

(SSI ¶ 20.)     No agent from Chitron-China or Chitron-US has ever

applied for such a license.        (Id. ¶ 22.)

     In the government’s view, Chitron-US allegedly circumvented

export laws by falsely listing foreign freight forwarders in Hong

Kong (including Chitron-China’s branch office in Hong Kong) as

the “ultimate consignee” or end-user of the products being

shipped and by causing shipping companies to file false Shipper’s

Export Declarations (“SEDs”) with the United States Department of

Commerce.     Chitron-US also caused Shipper’s Export Declarations

to be filed that falsely identified defense articles subject to

export regulation as “electronic components” classified as “No

License Required.”       (Id. ¶¶ 36-37.)     The ultimate destination for

all of Chitron-US’s exports was either Chitron-China’s

headquarters in Shenzhen or another branch office in Mainland

China.    (Id. ¶¶ 8, 33.)

     3.      Interrelationship Between Chitron-China and Chitron-US

     As mentioned, Wu was General Manager and President of both

Chitron-China and Chitron-US at various times.           (See SSI ¶¶ 1, 7,

8; Affidavit of Special Agent Edward J. Hayden (“Hayden Aff.”) ¶¶



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11, 13.)   The indictment alleges that Chitron-China was

integrally involved in the daily operations of Chitron-US, such

that Chitron-US was a mere front for the Chinese company’s

business transactions.    Chitron-China controlled what work was

being performed at Chitron-US each day by sending “tasking lists”

from the Chitron’s offices in China to the Waltham, Massachusetts

office of Chitron-US.    These lists included “lists of parts that

[Chitron-China’s] customers were interested in procuring.”              (SSI

at 18; see also Hayden Aff. ¶ 19.)

     As the company grew, Chitron-China’s employees located in

mainland China began to communicate directly with United States

companies on a regular basis.     (SSI at 34-36.)     To facilitate

this, Wu established an elaborate telephone system for Chitron-US

using a toll-free number.     Calls to this toll-free number were

forwarded to Chitron-China’s offices in Shenzhen, China, where

Chinese employees answered the calls.       (Hayden Aff. ¶ 20.)         The

phone system also masked outgoing calls from the Shenzhen

headquarters, such that it appeared that the call was being

placed from the Chitron-US office.       (Id.)   In order to shield the

fact that electronics sold to Chitron were intended for end-users

in mainland China, Chitron-China employees stated to United

States retailers and distributors that they were in fact

employees of Chitron-US located in Massachusetts.         (SSI at 34-36;

Hayden Aff. ¶ 20.)

     The indictment also alleges that Chitron-China facilitated

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its unlawful exports by paying for Chitron-US’s operating costs

through monetary transfers sent to the United States from China.

(Id. at 56-58.)    These transfers also paid for the salaries of

Chitron-US employees.    (Hayden Aff. ¶ 21.)

     4.   Procedural History

     The original indictment, handed down on December 18, 2008,

only pertained to Defendants Zhen Zhou Wu, Yufeng Wei, and Bo Li.

Chitron-China was indicted on April 16, 2009.         (See First

Superseding Indictment (Docket No. 29).)        On June 3, 2009,

Special Agent Joseph Sullivan of the United States Immigration

and Customs Enforcement served a copy of the summons issued to

Chitron-China on defendant Wu, as President of or, alternatively,

an agent for Chitron-China.       Agent Sullivan personally served a

copy of the summons on Wu, who was in custody at Donald C. Wyatt

Federal Detention Center pending trial.         (Affidavit of Special

Agent Joseph Sullivan ¶ 2, 4.)      In addition, at the Government’s

request, the clerk of this Court sent a copy of the summons by

certified mail to the Chitron-US office in Waltham,

Massachusetts.    The docket in this case indicates that the

summons was delivered to Chitron-US on May 15, 2009.

     The grand jury handed down a second superseding indictment

against Chitron-China and other defendants on October 1, 2009.

                            II.    DISCUSSION

     1.   Personal Jurisdiction over Chitron-China


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     Chitron-China moves to dismiss the indictment against it,

claiming that this Court lacks personal jurisdiction over the

corporation.

     One bedrock principle of personal jurisdiction over foreign

corporations in the criminal context is the “effects” doctrine.

In the domestic context, courts have long held that “[a]cts done

outside a jurisdiction, but intended to produce and producing

detrimental effects within it, justify a State in punishing the

cause of the harm as if he had been present at the effect, if the

State should succeed in getting him within its power.”

Strassheim v. Daily, 221 U.S. 280, 285 (1911) (involving habeas

corpus petition under domestic law); United States v. Steinberg,

62 F.2d 77, 78 (2d Cir. 1932) (“It has long been a commonplace of

criminal liability that a person may be charged in the place

where the evil results, though he is beyond the jurisdiction when

he starts the train of events of which that evil is fruit.”).

This “effects” approach is also followed where foreign

corporations are involved.     See generally Restatement (Second) of

Conflict of Laws § 50 (1971) (“A state has power to exercise

judicial jurisdiction over a foreign corporation which causes

effects in the state by an act done elsewhere with respect to any

cause of action arising from these effects unless the nature of

these effects and of the corporation’s relationship to the state

makes the exercise of such jurisdiction unreasonable.”).

     The case law discussing the specific issue of personal

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jurisdiction over foreign corporations in the criminal context is

surprisingly sparse and poorly developed.        The two cases that are

most on point involve the enforcement of grand jury subpoenas

issued to foreign corporations.      In a case involving efforts by

an Independent Counsel to subpoena records of foreign companies

that possibly violated United States law by selling arms to Iran

and providing assistance to the Nicaraguan contras, the D. C.

Circuit rejected the argument that personal jurisdiction over the

corporations was achieved simply because the court had personal

jurisdiction over the company’s representative.         In re Sealed

Case, 832 F.2d 1268, 1272-73 (D.C. Cir. 1987), abrogated on other

grounds by Braswell v. United States, 487 U.S. 99 (1988).

Rather, it held that the government needed to provide sufficient

evidence of personal jurisdiction over the corporations

themselves: “A federal court has personal jurisdiction over a

corporation or other business concern with respect to its

activities or effects within the United States if that

corporation has certain ‘minimum contacts’ with the United

States.” Id. at 1273-74 (citing Int’l Shoe Co. v. Washington, 326

U.S. 310, 316 (1945)).    “In the case of foreign companies that do

not regularly do business here, jurisdiction may be founded on

conduct abroad that causes injury within the United States.”            Id.

at 1274.   The D.C. Circuit also suggested that the government

could establish personal jurisdiction if it shows that the agent



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“has done business in the United States on behalf of the

companies sufficient to give an American court jurisdiction over

them.”    Id. at 1273 n.3.

     In the second case, also involving enforcement of grand jury

subpoenas, the Second Circuit held that the United States has

personal jurisdiction over a foreign corporation accused of

conspiring to violate tax laws where at least one overt act

occurred in the United States and where there was service of the

grand jury subpoena upon the corporation’s officers within the

territorial boundaries of the United States.           Matter of Marc Rich

& Co., A.G., 707 F.2d 663, 666-68 (2d Cir. 1983) (citing Melia v.

United States, 667 F.2d 300, 304 (2d Cir. 1981)); id. at 667

(“[W]e have subscribed to the ‘modern notion’ that where a person

has sufficiently caused adverse consequences within a state, he

may be subjected to its judicial jurisdiction so long as he is

given adequate notice and an opportunity to be heard.”).             See

also United States v. Clark, 435 F.3d 1100, 1108 (9th Cir. 2006)

(holding that, “to comply with the Due Process Clause of the

Fifth Amendment, extraterritorial application of federal criminal

statutes requires the government to demonstrate a sufficient

nexus between the defendant and the United States ‘so that such

application would not be arbitrary or fundamentally unfair.’”)

(quoting United States v. Davis, 905 F.2d 245, 248-49 (9th Cir.

1990)).



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     Under this case law, to establish personal jurisdiction over

a foreign corporation charged with a crime, the government has

the burden of demonstrating (via the indictment or affidavits)3

(1) the “effects” necessary to establish personal jurisdiction;

and (2) “minimum contacts” between the corporation (or its agent)

and the United States.

     The government argues that it has demonstrated personal

jurisdiction over Chitron-China because the indictment and

affidavits indicate that it used its Massachusetts-based

subsidiary as a “conduit” or “front company” for its misconduct

in the United States.    The Second Superseding Indictment alleges

that Chitron-China itself has committed crimes in the United

States.    (See, e.g., SSI ¶ 32 (“On numerous occasions . . . WU

and other agents of [Chitron-China] instructed employees of

[Chitron-US] not to tell United States companies from which they

sought to procure products that they would be exporting the

products overseas.”); id. at 18 (“It was . . . part of the

conspiracy that the defendants WU, WEI, [Chitron-US], and

[Chitron-China] used international and domestic telephone calls

to plan the procurement and arrange for the delivery, of defense

articles and United States commodities classified under Export

Classification Control Number 3A001 . . . .”); id. at 37 (“In or

about October 2007, in describing how CHITRON would operate in


     3
          Neither party requested an evidentiary hearing.

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light of allegedly new United States export restrictions, WU

stated: “We need to continue to maintain our original contacts

with China’s war industry and defense technology units.”).)             In

addition, the Second Superseding Indictment charges Chitron-China

with “knowingly and willfully export[ing], and caus[ing] the

export, from the United States to Hong Kong, and to China, of

defense articles designated on the United States Munitions List,”

and “knowingly and willfully export[ing], and caus[ing] the

export, of electronics components and other commodities [subject

to export control by the Department of Commerce] from the United

States to China without having first obtained an export license.”

(See id. at 38-40, 41.)

     The supplementary affidavit of Special Agent Hayden provides

additional details of Chitron-China’s alleged actions.

     “[I]n or about 2005, [Chitron-China] employees began to
     communicate directly with United States companies on a
     regular basis. . . . These same employees also made
     sales calls into the United States, which appeared to
     be made from the CHITRON-US office, seeking various
     electronic components and other parts. According to at
     least one employee, CHITRON-US’ telephone system was
     set up to conceal the location of the employee making
     the call to, or receiving the call from, United States
     companies. Similarly, using electronic mail, employees
     of [Chitron-China] frequently represented to United
     States companies that they were working out of
     CHITRON’s United States office when in fact those
     employees were located in the PRC.”

(Hayden Aff. ¶ 20.)   Accordingly, the Court finds that the

government has provided evidence that Chitron-China engaged in

activities in the United States sufficient to meet the “minimum


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contacts” and “effects” test.     As such, the Court may properly

exercise personal jurisdiction over defendant Chitron-China.

     2.   Service of the Summons on Chitron-China

     Chitron-China attacks the sufficiency of service of the

summons on the ground that Wu was not Chitron-China’s officer or

agent on June 3, 2009 when he was served.       The Government

responds that service was proper because Wu was an officer of

Chitron-US on that date.

     To exercise personal jurisdiction over a foreign

corporation, the government must “succeed in getting [it] within

its power.”   Strassheim, 221 U.S. at 285; cf. United Elec., Radio

and Mach. Workers of Am. v. 163 Pleasant St. Corp., 960 F.2d

1080, 1085 (1st Cir. 1992) (“[T]hough personal jurisdiction and

service of process are distinguishable, they are inextricably

intertwined, since service of process constitutes the vehicle by

which the court obtains jurisdiction.”).       Under Fed. R. Crim. P.

4(c)(3)(C), there are two requirements for service on a

corporation, both of which are essential prerequisites to

effective service:

     A summons is served on an organization by delivering a
     copy to an officer, to a managing or general agent, or
     to another agent appointed or legally authorized to
     receive service of process. A copy must also be mailed
     to the organization’s last known address within the
     district or to its principal place of business
     elsewhere in the United States.

Fed. R. Crim. P. 4(c)(3)(C).     The Government states that it has



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complied with both of these requirements by: (1) serving a copy

of the summons issued to Chitron-China on Defendant Zhen Zhou Wu

at the Donald C. Wyatt Federal Detention Center where he is being

held pending trial; and (2) requesting that this Court send a

copy of the summons via certified mail to Chitron-US’s office in

Waltham, Massachusetts.

     Chitron-China disputes the sufficiency of service of the

summons, stating that Defendant Wu was not an adequate agent to

accept service of the summons under Rule 4, and also that

Chitron-US’s offices do not represent Chitron-China’s “last known

address within the district.”

          a.   Service of Summons on Defendant Wu

     The question is whether Defendant Wu was an adequate agent

of Chitron-China to accept service of the summons as required by

Fed. R. Crim. P. 4 as a result of his status as president of the

subsidiary at the time of service.

     Generally speaking, in a civil context, service of process

on a wholly owned subsidiary does not constitute service of

process on the parent corporation where separate corporate

identities are maintained.    See, e.g., Cannon Mfg. Co. v. Cudahy

Packing Co., 267 U.S. 333, 334-35 (1925) (holding that service on

a corporation’s Alabama agent was insufficient where “the

existence of the Alabama company as a distinct corporate entity

is . . . in all respects observed”); Adams v. AlliedSignal Gen.



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Aviation Avionics, 74 F.3d 882, 885 (8th Cir. 1996) (“[A]bsent

probative evidence that the two corporations are not

independently operated, service on an officer of a subsidiary . .

. does not effect service on the parent corporation”); United

States ex rel. Vallejo v. Investronica, Inc., 2 F. Supp. 2d 330,

335 (W.D.N.Y. 1998); Lasky v. Continental Prods. Corp., 97 F.R.D.

716, 716-17 (E.D. Pa. 1983).

     However, in the case of a foreign corporation that has a

subsidiary in the United States, “service on a foreign parent

through proper service on a local subsidiary [is permitted] where

(1) the local subsidiary has minimum contacts with the forum, and

(2) where the relationship between parent and subsidiary is such

that the subsidiary is a mere conduit for the activities of its

parent.”   Stanley Works v. Globemaster, Inc., 400 F. Supp. 1325,

1332-1335 (D. Mass. 1975) (finding that the subsidiary was a

“mere conduit” due to “a carefully-sewn web of interrelationships

and interdependence between parent and subsidiary making its

individual identity more apparent than real”); see also I.A.M.

Nat’l Pension Fund, Plan A v. Wakefield Indus., Inc., Div. Of

Capehart Corp., 699 F.2d 1254, 1259-60 (D.C. Cir. 1983) (“While

the relationship of parent and subsidiary alone would not

suffice, where the two corporations are not really separate

entities service on the parent will reach a foreign subsidiary.”)

(internal citations omitted); Matter of Marc Rich & Co., 707 F.2d

at 665 (service of a grand jury subpoena on subsidiary’s office

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located in the United States was “sufficient to warrant judicial

enforcement” of subpoena against foreign corporation); Heise v.

Olympus Optical Co., Ltd., 111 F.R.D. 1, 2, 6 (N.D. Ind. 1986)

(“Although [the] parent-subsidiary relationship, standing alone,

is insufficient for purposes of jurisdiction, service upon a

managing agent of a subsidiary is sufficient” where the plaintiff

submitted evidence that the subsidiary was “formed for the

purpose of marketing and distributing products manufactured by

the parent . . . .”).

      The indictment alleges that Defendant Wu is the President of

Chitron-US and has been since its incorporation in 1998.           (SSI ¶

8.)   In addition, the affidavit submitted by Special Agent Hayden

of the Department of Commerce states that “[o]n or about April

29, 2008, WU filed a H1-B Visa Application with the United States

Department of State . . . [indicating] that he is presently

employed as the President of CHITRON-US.”        (Hayden Aff. ¶ 11.)

Chitron-China has not submitted any evidence that Wu is no longer

the President or controlling officer of Chitron-US.          As such, if

Chitron-US is proven to be a “mere conduit” for the activities of

Chitron-China, then Defendant Wu is competent to accept service

of the summons as President of Chitron-China’s subsidiary

corporation in the United States.

      Borrowing from case law in the civil context, Chitron-China

argues that, in order for the Court to find that service on its

subsidiary was sufficient, the Government must show a “lack of

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corporate independence, fraudulent intent, and manifest

injustice.”    United Elec., Radio & Mach. Workers of Am. v. 163

Pleasant St. Corp., 960 F.2d 1080, 1093 (1st Cir. 1992).             The

superseding indictment states that Defendant Wu incorporated

Chitron-US as a Massachusetts corporation to serve as Chitron-

China’s branch office and purchasing office in the United States.

(SSI ¶ 7; see also Hayden Aff. ¶ 7.)         In addition, Wu and other

agents of Chitron-China allegedly directed and controlled

Chitron-US’s purchase and ultimate export to China of millions of

dollars worth of electronics components and commodities from

United States manufacturers and distributors.          (SSI ¶ 8; Hayden

Aff. ¶ 19.)    Chitron-China and Chitron-US exchanged tasking lists

that identified parts that Chitron-China’s customers were

interested in procuring (SSI at 18; Hayden Aff. ¶ 19), and used a

toll-free United States telephone number to communicate with

United States companies in order to disguise the ultimate

destination of purchases including defense articles and other

controlled United States commodities.        (SSI at 17-18; Hayden Aff.

¶ 20.)    Moreover, Chitron-China’s employees contacted United

States companies directly and ordered parts, holding themselves

out to be employees of Chitron-US.         (SSI at 34-35; Hayden Aff. ¶

20.)    Wu was the president and an owner of both entities.

       These allegations in the indictment and affidavit show a

sufficient interrelationship between Chitron-China and Chitron-US


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to hold that service of the summons on Wu, who was still the

President of the subsidiary at the time of service, was

sufficient to effect service on the foreign parent corporation,

Chitron-China.

     Since the Court finds that the Government has satisfied the

first prong of Rule 4(c)(3)(C) through service of Chitron-China’s

subsidiary, it is unnecessary to discuss Chitron-China’s

assertions that Defendant Wu is no longer President or General

Manager of Chitron-China, and therefore was unable to accept

service of the summons under Chinese law.4

          b.     Copy of Summons Sent to Chitron-US Office

     Given that the Court has found that service on the President

of Chitron-China’s subsidiary was sufficient to satisfy the first

prong of Rule 4(c)(3)(C), it follows that service of a copy of

the summons at the address of Chitron-US in Waltham,

Massachusetts is sufficient to satisfy the “last known address”

requirement of the Rule.    The Second Superseding indictment

sufficiently alleges that Chitron-US was a mere conduit for

Chitron-China, leading to the conclusion that it was appropriate

for the copy of the summons to be sent by certified mail to

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       In its briefing, Chitron-China challenges the Government’s
failure to return the summons in accordance with Federal Rule of
Criminal Procedure 4(c)(4)(B). However, at oral argument
Chitron-China represented to the court that it did not intend to
press technicalities on the issue of service, including the issue
of the return of service. (Tr. at 25-26.) Therefore, the Court
does not consider this issue as a basis for the motion to
dismiss.

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Chitron-US’s business address in Massachusetts.

     3.   Mutual Legal Assistance Treaty

     As an alternative basis for its motion to dismiss, Chitron-

China asserts that the Mutual Legal Assistance Treaty (“MLAT”)

between the United States and China precludes the service of a

criminal summons upon a Chinese corporation except with the

assent and assistance of the Chinese government.        This argument

is without merit.

     The Government correctly states that the MLAT only becomes

operative if a request is made by the United States to China for

assistance with the service of a summons.       See Agreement on

Mutual Legal Assistance in Criminal Matters art. 8 (“MLAT”),

United States-P.R.C., June 19, 2000.      In this case, the United

States has not made such a request.      Moreover, the MLAT does not

create a private right of enforcement of the treaty.         See MLAT

art. 1, § 3 (stating that the MLAT “is intended solely for the

mutual legal assistance between the parties.        The provisions of

[the] Agreement shall not give rise to a right on the part of any

private person to obtain, suppress, or exclude any evidence, or

to impede the execution of a request.”).

     4.   Alleged Misnomers in the Indictment

     As a final argument, Chitron-China states that the

indictment, as worded, does not correctly name Chitron-China as a

defendant and argues that the inclusion of an alias is


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prejudicial.    The indictment names “Chitron Electronics Company

Limited a/k/a Chi-Chuang Electronics Company Limited” as a

defendant in this case.

     The Government argues that the names used in the indictment

are neither incorrect nor prejudicial.       First, the Government has

submitted an affidavit and exhibits, the relevant parts of which

the defendant has not challenged, showing that Chitron-China has

used both “Chitron Electronics Company Limited” and “Chi-Chuang

Electronics Company Limited” as identifying names in its

correspondence, marketing literature, and website statements.

(See Affidavit of Special Agent Edward J. Hayden ¶¶ 8-10, 14;

id., Exs. A, B, D.)   Therefore, the inclusion of both names is

appropriate in the indictment.     See United States v. Candelaria-

Silva, 166 F.3d 19, 33 (1st Cir. 1999) (stating that inclusion of

an alias is appropriate when necessary to fully identify a

defendant).    The Court notes that the Government has represented

that it would not object to a motion by Defendant Chitron-China

to add the name “Shenzhen Chitron Electronics Company Limited” to

the Second Superseding Indictment.       (See Gov’t Opp’n Mot. Dismiss

at 20 n.5.)    The Court will address any issues of jury confusion

with respect to Defendant’s proper name at trial.

                           III.   CONCLUSION

     The Court DENIES Chitron-China’s Motion to Dismiss the

indictment.


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                                     S/PATTI B. SARIS
                                    United States District Judge




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